            Case 2:17-cr-00087-TSZ        Document 25     Filed 04/19/17    Page 1 of 2




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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
        UNITED STATES OF AMERICA,
 8                           Plaintiff,
 9          v.                                          CR17-87 TSZ

10      FREDY RAMON GUTAMA-                             ORDER
        GUTAMA, et al.,
11
                             Defendants.
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13          THIS MATTER having come before the Court on the joint motion of the parties

14 for a continuance of the trial and the pretrial motions due date, docket no. 24, and the

15 Court having considered the facts set forth in the motion, the speedy trial waivers

16 executed by defendants, and the records and files herein, the Court enters the following

17 order:

18          1.    A failure to grant the continuance would deny defense counsel the

19 reasonable time necessary for effective preparation, taking into account the exercise of

20 due diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv). In addition, the

21 failure to grant a continuance in the proceeding would be likely to result in a miscarriage

22 of justice, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(i).

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     ORDER - 1
            Case 2:17-cr-00087-TSZ       Document 25      Filed 04/19/17     Page 2 of 2




 1         2.     The ends of justice will be served by ordering a continuance in this case, as

 2 a continuance is necessary to ensure adequate time for the defense to effectively prepare

 3 for trial. All of these factors outweigh the best interests of the public and defendants in a

 4 more speedy trial, within the meaning of 18 U.S.C. § 3161(h)(7).

 5         For the foregoing reasons, the joint motion to continue trial, docket no. 24 is

 6 GRANTED. The trial date shall be continued from May 30, 2017, to July 17, 2017.

 7 Pretrial motions are to be filed no later than May 26, 2017.

 8         IT IS FURTHER ORDERED that the resulting period of delay from the current

 9 trial date of May 30, 2017, until the new trial date is hereby excluded for speedy trial

10 purposes under 18 U.S.C. § 3161(h)(7)(A) and (B).

11         IT IS SO ORDERED.

12         Dated this 19th day of April, 2017.

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                                                      A
                                                      Thomas S. Zilly
                                                      United States District Judge
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     ORDER - 2
